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IN THE UNITED STATES DISTRICT COURT " l ll ,_
FOR THE WESTERN DISTRICT OF NEW YORK \ ; 5 H‘ 1 ‘
`V]/\@`\\;u" / _. l,T /
` l\. " k
TAVARE HOLLEY, ` "`i ' "
Plaintiff,
v. Case NO. 17- cv-6194 FPG MWP

MILLHOUSE FAMILY RESTAURANT, INC.,
CHRIS STATHOPOULOS, in his individual
capacity, and CARMELLA STATHOPOULOS,
in her individual capacity,

Defendants.

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STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE
Pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, the court’s Order of
August 3, 2018, approving the settlement agreement between the parties, and the terms of the
attached settlement agreement between Plaintiff Tavare Holley and Defendants Millhouse
Family Restaurant, Inc., Chris Stathopoulos and Carmella Stathopoulos, Plaintiff and Defendants

hereby stipulate to the dismissal With prejudice of Plaintiff’ s claims against Defendants in this

 

 

matter.
/s/ Peter O’Brian Dellinger /s/ Jeffrev J.
Peter O’Brian Dellinger, Esq. Jeffery J. Calabrese, Esq.
EMPIRE JUSTICE CENTER Harter Secrest P.C.
l West Main Street, Suite 200 1600 Bausch & Lomb Place
Rochester, NeW York 14614 Rochester, NY 14604
Phone: (585) 295-5811 Phone: (585) 231-1280
Email: pdellinger@empirejustice.org Email: jcalabrese@hselaw.com
Attorney for Plaintiff Attorney for Defendants

August 10, 2018 August 10, 2018

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So Ordered: August 3, 2018

H .F K(P.GE .1 JR.
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